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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

    RUBY FREEMAN, et al.,

                          Plaintiffs,                Civil Action No. 21-3354 (BAH)

                          v.                         Chief Judge Beryl A. Howell

    HERRING NETWORKS, INC., et al.,

                          Defendants.



UNOPPOSED MOTION FOR EXTENSION OF TIME TO RESPOND TO COMPLAINT

          Defendant Rudolph W. Giuliani (“Defendant Giuliani”), through undersigned counsel,

pursuant to Federal Rule of Civil Procedure 6(b)(1), District of Columbia District Court Local

Rule 7, and paragraphs 6 and 7 of this Court’s Standing Order for Civil Cases, with the consent of

counsel to Ruby Freeman and Wandrea Moss (“Plaintiffs”) and Defendants Herring Networks,

Inc., Charles Herring, Robert Herring, and Chanel Rion (the “OAN Defendants” and together with

Defendant Giuliani, “Defendants”),1 and for good cause as demonstrated below, hereby moves the

Court for an extension of time for Defendants to respond to Plaintiffs’ Complaint to enable

Plaintiffs and the OAN Defendants to engage in mediation, as described below. This is Defendant

Giuliani’s first request to extend.

          Presently, the date by which each Defendant must file an answer or otherwise respond to

the Complaint is March 25, 2022. Defendant Giuliani now moves, unopposed, to extend all

Defendants’ time to answer or otherwise respond to the Complaint to May 16, 2022, in the interest

of judicial and party economy.


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    Undersigned counsel understands that all parties consent to this motion.
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       On December 23, 2021, Plaintiffs filed their Complaint (the “Complaint”) against

Defendants, alleging defamation, intentional infliction of emotional distress, civil conspiracy, and

aiding and abetting for all the alleged torts. On January 26, 2022, Plaintiffs filed an unopposed

motion for both the extension of time to respond to the Complaint and to consolidate Defendants’

deadlines to respond. This Court granted the motion to extend time and consolidate deadlines on

January 31, 2022. Following this Court’s Order, Plaintiffs and the OAN Defendants began good

faith settlement negotiations on February 8, 2022. On March 11, 2022, Plaintiffs and the OAN

Defendants agreed to pursue mediation. On March 16, 2022, Defendant Giuliani informed

Plaintiffs that he declined to participate in mediation.

       Courts have discretion to extend any filing deadline for cause shown. Lujan v. Nat’l

Wildlife Fed’n, 497 U.S. 871, 895-96 (1990). To show good cause, the moving party “must

demonstrate some justification for the issuance of the extension.” United States v. All Assets Held

in Acct. No. XXXXXXXX, No. CV 13-1832 (JDB), 2014 WL 12810522, at *6 (D.D.C. July 3, 2014)

(citing 4B Charles Alan Wright, et al., Federal Practice and Procedure § 1165 (3d ed. West Supp.

2014)) (finding that attorneys did not have good cause to file a motion to extend where they lacked

authority to represent that party to the action). A district court’s decision pursuant to Rule 6(b) is

reviewed for abuse of discretion. Gov’t Rels. Inc. v. Howe, No. CIV.A. 05-1081 CKK, 2007 WL

201264, at *3 (D.D.C. Jan. 24, 2007).

       Here, Defendant Giuliani moves, before the deadline has passed, to extend the deadline to

respond in order to maintain a consolidated briefing schedule among the parties while Plaintiffs

and the OAN Defendants pursue formal settlement discussions and mediation. Staggered response

dates to the Complaint would unnecessarily complicate this Court’s calendar and render moot the

Court’s prior order consolidating Defendants’ deadlines to respond. In addition, Plaintiffs have



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informed Defendants that they intend to file an amended Complaint. Accordingly, Defendant

Giuliani, in agreement with Plaintiffs and the OAN Defendants, respectfully requests that the Court

enter an order extending Defendants’ time to respond to the forthcoming amended Complaint to

May 16, 2022, in order to facilitate settlement discussions and mediation among Plaintiffs and the

OAN Defendants, maintain a consolidated briefing schedule, and promote judicial and party

economy.

       To accommodate the mediation process and ensure that litigation proceeds efficiently

thereafter, the parties further request that the Court enter an order imposing the following schedule.

By April 21, 2022, and in accord with the Court’s Standing Order for Civil Cases Rule 7(b),

Plaintiffs shall file a status report apprising the Court about the status of settlement negotiations

with the OAN Defendants and whether they intend to proceed with litigation or whether they

request any additional extension of time to continue negotiations.

       If Plaintiffs notify the Court by April 21, 2022, that they intend to proceed with litigation,

the parties propose the following briefing schedule:

   •   By April 25, 2022, Plaintiffs shall file an amended Complaint;

   •   By May 16, 2022, Defendants shall file their answers to or otherwise respond to the

       amended Complaint;

   •   By June 6, 2022, Plaintiffs shall file their opposition(s), if any; and

   •   By June 17, 2022, Defendants shall file their replies, if any.

       This proposed extension is made in good faith and not for purposes of delay. It will not

prejudice the interests of any party, as Plaintiffs and Defendants agree to the appropriateness of

the requested extension. For the reasons stated above, and for good cause shown, Defendant

Giuliani respectfully requests that the Court grant this motion to further extend the deadline to



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respond to the Complaint and modify the scheduling order as requested here. Defendant Giuliani

submits the accompanying attached Proposed Order for the Court’s review.



Dated: March 21, 2022

                                                   By: /s/ Joseph D. Sibley IV

                                                   CAMARA & SIBLEY L.L.P.

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                                           ATTORNEYS FOR RUDOLPH W. GIULIANI




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                             CERTIFICATE OF CONFERENCE

       I hereby certify that on the 21st day of March, 2022 (and in the days prior thereto), I
conferred with all counsel regarding the relief sought herein and they are unopposed.


                                             /s/ Joseph D. Sibley IV
                                                   Joseph D. Sibley IV


                                CERTIFICATE OF SERVICE

        I hereby certify that on this 21st day of March, 2022, I electronically filed the foregoing
motion with the Clerk of the Court using the CM/ECF system, which I understand to have caused
service on all counsel of record.


                                             /s/ Joseph D. Sibley IV
                                                     Joseph D. Sibley IV




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